                   Case 19-03249-jw                           Doc 13           Filed 06/25/19 Entered 06/25/19 13:35:09                                               Desc Main
                                                                               Document      Page 1 of 8
     
Fill  in  this  information  to  identify  your  case:                                                                                             q  Check  if  this  is  a  modified  
                                                                                                                                                        plan,  and  list  below  the  
                                                                                                                                                        sections  of  the  plan  that  have  
   
Debtor  1             Rodney  Bernard  Manderville    
                        First  Name                      Middle  Name                  Last  Name                                                       been  changed.  

   
Debtor  2               Dorothy  W.  Manderville                                                                                                   q    Pre-­confirmation  modification  
(Spouse,  if  filing)   First  Name                      Middle  Name                  Last  Name  

                                                                                                                                                   q    Post-­confirmation  modification  
United  States  Bankruptcy  Court  for  the:   District  of  South  Carolina                                                                       _________________________________  

                                                                                                                                                   _________________________________  
Case  number   19-­03249  
  (If  known)                                                                                                                                      _________________________________  

                                                                                                                                                   _________________________________  




 District  of  South  Carolina  
 Chapter 13 Plan                                                                                                                                                                               5/19


      Part 1:           Notices

 To  Debtors:                This  form  sets  out  options  that  may  be  appropriate  in  some  cases,  but  the  presence  of  an  option  on  the  form  does  not  
                             indicate  that  the  option  is  appropriate  in  your  circumstances.    Plans  that  do  not  comply  with  the  Bankruptcy  Code,  the  
                             Federal  Rules  of  Bankruptcy  Procedure,  this  Court’s  local  rules,  and  judicial  rulings  may  not  be  confirmable.  

                             In  the  following  notice  to  creditors,  you  must  check  each  box  that  applies.  

 To  Creditors:   Your  rights  may  be  affected  by  this  plan.  Your  claim  may  be  reduced,  modified,  or  eliminated.  
                             You  should  read  this  plan  carefully  and  discuss  it  with  your  attorney  if  you  have  one  in  this  bankruptcy  case.  If  you  do  not  have  
                             an  attorney,  you  may  wish  to  consult  one.    Failure  to  object  may  constitute  an  implied  acceptance  of  and  consent  to  the  relief  
                             requested  in  this  document.  
                             If  you  oppose  the  plan’s  treatment  of  your  claim  or  any  provision  of  this  plan,  you  or  your  attorney  must  file  a  timely  objection  to  
                             confirmation.      To   determine   the   deadline   to   object   to   this   plan,   you   must   consult   the   Notice   of   Bankruptcy   Case   or  
                             applicable   Notice/Motion   served  with   this   plan.     The  Bankruptcy  Court  may  confirm  this   plan  without  further  notice  if   no  
                             objection   to  confirmation  is  filed.  See  Bankruptcy  Rule  3015.  In  addition,  pursuant  to   Federal  Rule  of  Bankruptcy  Procedure  
                             3002,  you  must  file  a  timely  proof  of  claim  in  order  to  be  paid  under  any  plan.    Confirmation  of  this  plan  does  not  bar  a  party  in  
                             interest  from  objecting  to  a  claim.  
                             The  following  matters  may  be  of  particular  importance.  Debtors  must  check  one  box  on  each  line  to  state  whether  or  not  the  plan  
                             includes  each  of  the  following  items.    If  an  item  is  checked  as  “Not  Included”  or  if  both  boxes  are  checked,  the  provision  will  
                             be  ineffective  if  set  out  later  in  the  plan.  


       1.1         A  limit  on  the  amount  of  a  secured  claim,  set  out  in  Section  3.2,  which  may  result  in  a  partial                            Included         x  Not  included  
                   payment  or  no  payment  at  all  to  the  secured  creditor  

       1.2         Avoidance  of  a  judicial  lien  or  nonpossessory,  nonpurchase-­money  security  interest,  set  out  in                               X  Included              Not  included  
                   Section  3.4  

       1.3         Nonstandard  provisions,  set  out  in  Part  8                                                                                           x  Included              Not  included  

       1.4         Conduit  Mortgage  Payments:  ongoing  mortgage  payments  made  by  the  trustee  through  plan,  set                                    x  Included              Not  included  
                   out  in  Section  3.1(c)  and  in  Part  8  
               Case 19-03249-jw                      Doc 13           Filed 06/25/19 Entered 06/25/19 13:35:09                                             Desc Main
                                                                      Document      Page 2 of 8
Debtor:  Rodney  Bernard  Manderville    
Joint  Debtor:  Dorothy  W.  Manderville                                                                                           Number  19-­‐03249-­‐jw    
  
     Part 2:      Plan Payments and Length of Plan

  
2.1   The  debtor  submits  to  the  supervision  and  control  of  the  trustee  all  or  such  portion  of  future  earnings  or  other  future  income  as  is  necessary  for  the  
       execution  of  the  plan.    
       Unless  all  allowed  claims  (other  than  long-­term  claims)  are  fully  paid  pursuant  to  the  plan,  the  debtor  will  make  regular  payments  to  the  trustee  as  
       follows:                                          

        $  3,600    per  month         for               60  months    
        [and  $  ___________       per  month          for    _____   months.]      
        Insert  additional  lines  if  needed.  
          
The  debtor  and  trustee  may  stipulate  to  a  higher  payment  in  order  to  provide  adequate  funding  of  the  plan  without  the  necessity  of  a  modification  to  the  
plan.    The  stipulation  is  effective  upon  filing  with  the  Court.  
Additional  monthly  payments  will  be  made  to  the  extent  necessary  to  make  the  payments  to  creditors  specified  in  this  plan.  
  

2.2   Regular  payments  to  the  trustee  will  be  made  from  future  income  in  the  following  manner:    

       Check  all  that  apply.  
       q      The  debtor  will  make  payments  pursuant  to  a  payroll  deduction  order.    
       q      The  debtor  will  make  payments  directly  to  the  trustee.  
       x      Other  (specify  method  of  payment):TFS  bill  pay    
  

2.3   Income  tax  refunds.    

       Check  one.  
       x      The  debtor  will  retain  any  income  tax  refunds  received  during  the  plan  term.  

       q      The  debtor  will  treat  income  tax  refunds  as  follows:  

                           ____________________________________________________________________________________________________  
                      _____________________________________________________________________________________________________  

2.4   Additional  payments.    

       Check  one.  
       x      None.  If  “None”  is  checked,  the  rest  of  §  2.4  need  not  be  completed  or  reproduced.  

           
     Part 3:      Treatment of Secured Claims

  
To  receive  a  distribution  from  the  trustee,  a  proof  of  claim,  including  adequate  supporting  documentation  and  filed  in  compliance  with  Official  Rules  
and  Forms,  must  be  filed  with  the  Court.  For  purposes  of  plan  distribution,  a  claim  shall  be  treated  as  provided  for  in  a  confirmed  plan.    However,  if  
a  claim  is  treated  as  secured  in  a  confirmed  plan  and  the  affected  creditor  elects  to  file  an  unsecured  claim,  such  claim,  unless  timely  amended,  
shall  be  treated  as  unsecured  for  purposes  of  plan  distribution.        Any  c reditor  holding  a  claim  secured  by  property  that  is  removed  from  the  protection  
of  the  automatic  stay  by  order,  surrender,  or  through  operation  of  the  plan  will  receive  no  further  distribution  from  the  chapter  13  trustee  on  account  
of  any  secured  claim.  This  provision  also  applies  to  creditors  who  may  claim  an  interest  in,  or  lien  on,  property  that  is  removed  from  the  protection  
of  the   automatic  stay   by   another  lienholder   or  released  to   another   lienholder,   unless  the  Court  orders  otherwise,   but  does  not   apply   if   the  sole  
reason  for  its  application  arises  under  11  U.S.C.  §  362(c)(3)  or  (c)(4).    Any  funds  that  would  have  otherwise  been  paid  to  a  creditor,  but  pursuant  to  
these  provisions  will  not  be  paid,  will  be  distributed  according  to  the  remaining  terms  of  the  plan.    Any  creditor  affected  by  these  provisions  and  who  
has  filed  a  timely  proof  of  claim  may  file  an  itemized  proof  of  claim  for  any  unsecured  deficiency  within  a  reasonable  time  after  the  removal  of  the  
property  from  the  protection  of  the  automatic  stay.    Secured  creditors  that  will  be  paid  directly  by  the  debtor  may  continue  sending  standard  payment  
and  escrow  notices,  payment  coupons,  or  inquiries  about  insurance,  and  such  action  will  not  be  considered  a  violation  of  the  automatic  stay.    

3.1    Maintenance  of  payments  and  cure  or  waiver  of  default,  if  any.  
       Check  all  that  apply.    Only  relevant  sections  need  to  be  reproduced.    
District  of  South  Carolina                                                                                                                                                   Page  2  
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                                                                              Document      Page 3 of 8
Debtor:  Rodney  Bernard  Manderville    
Joint  Debtor:  Dorothy  W.  Manderville                                                                                                            Number  19-­‐03249-­‐jw    
       q   None.  If  “None”  is  checked,  the  rest  of  §  3.1  need  not  be  completed  or  reproduced.  
       x   3.1(a)    The  debtor  is  not  in  default  and  will  maintain  the  current  contractual  installment  payments  on  the  secured  claims  listed  below,  with  any  
changes  required  by  the  applicable  contract  and  noticed  in  conformity  with  any  applicable  rules.    These  payments  will  be  disbursed  directly  by  the  debtor.      
       
     Name  of  Creditor                      Collateral    
     US  Auto  Fin                2012  Chevrolet  Equinox  VIN#2GNALDEK1C6237659  
       

       Insert  additional  claims  as  needed.  
  

      q   3.1(b)  The  debtor  is  in  default  and  will  maintain  the  current  contractual  installment  payments  on  the  secured  claims  listed  below,  with  
any  changes  required  by  the  applicable  contract  and  noticed  in  conformity  with  any  applicable  rules.    The  arrearage  payments  will  be  disbursed  
by  the  trustee,  with  interest,  if  any,  at  the  rate  stated.    The  trustee  shall  pay  the  arrearage  as  stated  in  the  creditor’s  allowed  claim  or  as  otherwise  
ordered  by  the  Court.  
         
       Name  of  Creditor                            Collateral                              Estimated  amount    Interest  rate  on   Monthly  plan  payment  on       
                                                                                             of  arrearage          arrearage                 arrearage  
                                                                                                                    (if  applicable)  
       ___________________                           ______________________   $_____________   ________%                                      $_______________  
                                                                                             Includes  amounts    
                                                                                             accrued  
                                                                                             through  the  
                                                                                               [Month/Year]  payment]                                 (or  more)  
                                                                                               

       Insert  additional  claims  as  needed.  
              
       q     3.1(c)  The  debtor  elects  to  make  post-­petition  mortgage  payments  to  the  trustee  for  payment  through  the  Chapter  13  Plan  in  accordance  
with  the  Operating  Order  of  the  Judge  assigned  to  this  case  and  as  provided  in  Section  8.1.    In  the  event  of  a  conflict  between  this  document  and  
the  Operating  Order,  the  terms  of  the  Operating  Order  control.    
  

       q       3.1(d)    The  debtor  proposes  to  engage  in  loss  mitigation  efforts  with  _________________________  according  to  the  applicable  guidelines  or  
procedures  of  the  Judge  assigned  to  this  case.    Refer  to  section  8.1  for  any  nonstandard  provisions,  if  applicable.  

       Insert  additional  claims  as  needed.  

       q  
          3.1(e)    Other.    A  secured  claim  is  treated  as  set  forth  in  section  8.1.    This  provision  will  be  effective  only  if  the  applicable  box  in  Section  
          1.3  of  this  plan  is  checked  and  a  treatment  is  provided  in  Section  8.1.  
            
            
3.2   Request  for  valuation  of  security  and  modification  of  undersecured  claims.  Check  one.  

       x  None.  If  “None”  is  checked,  the  rest  of  §  3.2  need  not  be  completed  or  reproduced.  
3.3    Other  secured  claims  excluded  from  11  U.S.C.    §  506  and  not  otherwise  addressed  herein.    
       Check  one.    
       x      None.  If  “None”  is  checked,  the  rest  of  §  3.3  need  not  be  completed  or  reproduced.  
  
3.4   Lien  avoidance.    
       Check  one.  
       q          None.  If  “None”  is  checked,  the  rest  of  §  3.4  need  not  be  completed  or  reproduced.  
       The  remainder  of  this  paragraph  will  be  effective  only  if  the  applicable  box  in  Part  1  of  this  plan  is  checked.  

       x The  judicial  liens   or   nonpossessory,  nonpurchase  money  security  interests  securing  the  claims   listed   below  impair   exemptions  to  
which  the  debtor  would  have  been  entitled  under  11  U.S.C.  §  522(b).  Unless  otherwise  ordered  by  the  Court,  a  judicial  lien  or  security  interest  
securing  a  claim  listed  below  will  be  avoided  to  the  extent  that  it  impairs  such  exemptions  upon  entry  of  the  order  confirming  the  plan.  The  amount  
of  the  judicial  lien  or  security  interest  that  is  avoided  will  be  treated  as  an  unsecured  claim  in  Part  5.1  to  the  extent  allowed.  The  amount,  if  any,  
of   the   judicial   lien   or   security   interest   that   is   not   avoided   will   be   paid   in   full   as   a   secured   claim   under   the   plan.   See   11   U.S.C.   §   522(f)   and  
Bankruptcy  Rule  4003(d).  If  more  than  one  lien  is  to  be  avoided,  provide  the  information  separately  for  each  lien.  


District  of  South  Carolina                                                                                                                                                                          Page  3  
Effective  May  1,  2019                                                      Chapter  13  Plan  
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Debtor:  Rodney  Bernard  Manderville    
Joint  Debtor:  Dorothy  W.  Manderville                                                                                                             Number  19-­‐03249-­‐jw    
                  Choose  the  appropriate  form  for  lien  avoidance.  


  Name  of  creditor  and                   Estimated                 Total  of  all                 Applicable                    Value  of                                        Amount  of              Amount  of  lien  
  description  of  property                 amount  of  lien          senior/unavoidable             Exemption  and                debtor’s  interest                               lien  not               avoided  
  securing  lien                                                      liens                          Code  Section                 in  property                                     avoided  (to  be  
                                                                                                                                                                                    paid  in  3.2  
                                                                                                                                                                                    above)  
                                                                                                     Homestead  
  South  Carolina  Federal                   $5,982.94                $239,  799.00                  Exemption  -­  S.C.           $238,500                                      0                          $5,982.94  
  Credit  Union                                                                                      Code  Ann.  §  15-­41-­                                                                                  
  Principal  Residence                                                                               30  (A)(1)                                                                                               
  110  Graduate  Lane                                                                                                                                                                                         
  Ladson,  SC  29456                                                                                                                                                                                          
  Dorchester  County                                                                                                                                                                                          
  TMS#  1541411010000                                                                                                                                                                                         
                                                                                                                                                                                                              
                                                                                                     Homestead                     $238,500                                                      
                                                                                                                                                                                 0                          4,880  
                                                                                                     Exemption  -­  S.C.  
  George  Mcnevin                            4,880                    245,781.94  
                                                                                                     Code  Ann.  §  15-­41-­
  Principal  Residence    
                                                                                                     30  (A)(1)  
  110  Graduate  Lane    
  Ladson,  SC  29456  
  Dorchester  County    
  TMS#  1541411010000  
    

                 Use  this  form  for  avoidance  of  liens  on  co-­owned  property  only.  


  Name  of  creditor              Total  equity  (value          Debtor’s  equity          Applicable               Non-­exempt                  Estimated                             Amount  of           Amount  of  
  and  description                of  debtor’s                   (Total  equity            Exemption                equity                       lien                                  lien  not            lien  avoided  
  of  property                    property  less                 multiplied  by            and  Code                (Debtor’s                                                          avoided  (to  
  securing  lien                  senior/unavoidable             debtor’s                  Section                  equity  less                                                       be  paid  in  
                                  liens)                         proportional                                       exemption)                                                         3.2  above)  
                                                                 interest  in  
                                                                 property)  
                                                                   
  ______________                  $___________                   $__________               ____________             $___________                 $_________                            $__________          $__________  

  
Insert  additional  claims  as  needed.  

3.5   Surrender  of  collateral.    
       Check  one.  
       x  None.  If  “None”  is  checked,  the  rest  of  §  3.5  need  not  be  completed  or  reproduced.  
         
  Part 4:               Treatment of Fees and Priority Claims

4.1   General  

The  debtor  shall  pay  all  post-­petition  priority  obligations,  including  but  not  limited  to  taxes  and  post-­petition  domestic  support,  and  pay  regular  payments  
on  assumed  executory  contracts  or  leases,  directly  to  the  holder  of  the  claim  as  the  obligations  come  due,  unless  otherwise  ordered  by  the  Court.  Trustee’s  
fees  and  all  allowed  priority  claims,  including  domestic  support  obligations  other  than  those  treated  in  §  4.5,  will  be  paid  in  full  without  postpetition  interest.  
4.2   Trustee’s  fees  

Trustee’s  fees  are  governed  by  statute  and  may  change  during  the  course  of  the  case.  

4.3   Attorney’s  fees  

                 a.      The  debtor  and  the  debtor’s  attorney  have  agreed  to  an  attorney’s  fee  for  the  services  identified  in  the  Rule  2016(b)  disclosure  statement  
                         filed  in  this  case.    Fees  entitled  to  be  paid  through  the  plan  and  any  supplemental  fees  as  approved  by  the  Court  shall  be  disbursed  by  
                         the   trustee   as   follows:   Following   confirmation   of   the   plan   and   unless   the   Court   orders   otherwise,   the   trustee   shall   disburse   a   dollar  
                         amount  consistent  with  the  Judge’s   guidelines  to  the  attorney  from  the  initial  disbursement.     Thereafter,  the   balance  of  the  attorney’s  
                         compensation  as  allowed  by  the  Court  shall  be  paid,  to  the  extent  then  due,  with  all  funds  remaining  each  month  after  payment  of  trustee  
                         fees,  allowed  secured  claims  and  pre-­petition   arrearages   on  domestic  support  obligations.  In   instances  where   an  attorney  assumes  
                         representation  in  a  pending  pro  se  case  and  a  plan  is  confirmed,  a  separate  order  may  be  entered  by  the  Court,  without  further  notice,  
                         which  allows  for  the  payment  of  a  portion  of  the  attorney’s  fees  in  advance  of  payments  to  creditors.      

District  of  South  Carolina                                                                                                                                                                                    Page  4  
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Debtor:  Rodney  Bernard  Manderville    
Joint  Debtor:  Dorothy  W.  Manderville                                                                                                Number  19-­‐03249-­‐jw  
           b.     If,   as   an   alternative   to   the   above   treatment,   the   debtor’s   attorney   has   received   a   retainer   and   cost   advance   and   agreed   to   file   fee
                  applications  for  compensation  and  expenses  in  this  case  pursuant  to  11  U.S.C.  §  330,  the  retainer  and  cost  advance  shall  be  held  in
                  trust  until  fees  and  expense  r eimbursements  are  approved  by  the  Court.    Prior  to  the  filing  of  this  case,  the  attorney  has  r eceived  $______
                  and  for  plan  confirmation  purposes  only,  the  fees  and  expenses  of  counsel  are  estimated  at  $_______  or  less.

4.4   Priority  claims  other  than  attorney’s  fees  and  those  treated  in  §  4.5.  
     The  trustee  shall  pay  all  allowed  pre-­petition  11  U.S.C.  §  507  priority  claims,  other  than  domestic  support  obligations  treated  below,  on  a  pro  rata  
     basis.    If  funds  are  available,  the  trustee  is  authorized  to  pay  any  allowed  priority  claim  without  further  amendment  of  the  plan.  
     Check  box  below  if  there  is  a  Domestic  Support  Obligation.


     q Domestic  Support  Claims.  11  U.S.C.  §  507(a)(1):
            a.     Pre-­petition  arrearages.  The  trustee  shall  pay  the  pre-­petition  domestic  support  obligation  arrearage  to  _____________  (state  name  of
                   DSO  recipient)  ,  at  the  rate  of  $_________  or  more  per  month  until  the  balance,  without  interest,  is  paid  in  full.    Add  additional  creditors
                   as  needed.
            b.     The  debtor  shall  pay  all  post-­petition  domestic  support  obligations  as  defined  in  11  U.S.C.  §  101(14A)  on  a  timely  basis  directly  to  the
                   creditor.
            c.     Any  party  entitled  to  collect  child  support  or  alimony  under  applicable  non-­bankruptcy  law  may  collect  those  obligations  from  property  that
                   is  not  property  of  the  estate  or  with  respect  to  the  withholding  of  income  that  is  property  of  the  estate  or  property  of  the  debtor  for  payment
                   of  a  domestic  support  obligation  under  a  judicial  or  administrative  order  or  a  statute.


4.5   Domestic  support  obligations  assigned  or  owed  to  a  governmental  unit  and  paid  less  than  full  amount.  
     Check  one.  
     x  None.  If  “None”  is  checked,  the  rest  of  §  4.5  need  not  be  completed  or  reproduced.

  Part 5:         Treatment of Nonpriority Unsecured Claims



5.1   Nonpriority  unsecured  claims  not  separately  classified.    Check  one.

     Allowed  nonpriority  unsecured  claims  that  are  not  separately  classified  will  be  paid,  pro  rata  by  the  trustee  to  the  extent  that  funds  are  
     available  after  payment  of  all  other  allowed  claims.  

     x  The  debtor  estimates  payments  of  less  than  100%  of  claims.  
     q  The  debtor  proposes  payment  of  100%  of  claims.  
     q  The  debtor  proposes  payment  of  100%  of  claims  plus  interest  at  the  rate  of  ___%.  


5.2   Maintenance  of  payments  and  cure  of  any  default  on  nonpriority  unsecured  claims.  Check  one.  

     x  None.  If  “None”  is  checked,  the  rest  of  §  5.2  need  not  be  completed  or  reproduced.


5.3   Other  separately  classified  nonpriority  unsecured  claims.  Check  one.  

     xNone.  If  “None”  is  checked,  the  rest  of  §  5.3  need  not  be  completed  or  reproduced.


 Part 6:         Executory Contracts and Unexpired Leases




6.1   The  executory  contracts  and  unexpired  leases  listed  below  are  assumed  and  will  be  treated  as  specified.  All  other  executory  
     contracts  and  unexpired  leases  are  rejected.  Check  one.  

     q  None.  If  “None”  is  checked,  the  rest  of  §  6.1  need  not  be  completed  or  reproduced.
       x  Assumed  items.  Current  installment  payments  will  be  disbursed  directly  by  the  debtor,  as  specified  below,  subject  to  any  contrary  court  order  
or  rule.    Prepetition  arrearage  payments  will  be  disbursed  by  the  trustee  unless  otherwise  ordered.    

District  of  South  Carolina                                                                                                                                                          Page  5  
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Joint  Debtor:  Dorothy  W.  Manderville                                                                                            Number  19-­‐03249-­‐jw  

 Name  of  creditor                   Description  of  leased                  Current  installment                Estimated  amount  of               Estimated  monthly  
                                      property  or  executory                  payment                             arrearage  through                  payment  
                                      contract                                                                     month  of  filing  or               on  arrearage  to  be  
                                                                                                                   conversion                          disbursed  by  the  trustee  
 Verizon  Wireless                    1   Samsung   Note,   and   1   LG       $300                                $0                                  $0  
                                      think  Q    
                                                                                                                                                        (or  more)  
Insert  additional  claims  as  needed.  


 Part 7:       Vesting of Property of the Estate




7.1   Property  of  the  estate  will  vest  in  the  debtor  as  stated  below:  
     Check  the  applicable  box:  
     x      Upon  confirmation  of  the  plan,  property  of  the  estate  will  remain  property  of  the  estate,  but  possession  of  property  of  the  estate  shall  remain  
           with  the  debtor.    The  chapter  13  trustee  shall  have  no  responsibility  regarding  the  use  or  maintenance  of  property  of  the  estate.    The  debtor  is  
           responsible  for  protecting  the  estate  from  any  liability  resulting  from  operation  of  a  business  by  the  debtor.    Nothing  in  the  plan  is  intended  to  
           waive  or  affect  adversely  any  rights  of  the  debtor,  the  trustee,  or  party  with  respect  to  any  causes  of  action  owned  by  the  debtor.  
     q     Other.      The  debtor  is  proposing  a  non-­standard  provision  for  vesting,  which  is  set  forth  in  section  8.1.    This  provision  will  be  effective  only  if  
           the  applicable  box  in  Section  1.3  of  this  plan  is  checked  and  a  proposal  for  vesting  is  provided  in  Section  8.1.  




District  of  South  Carolina                                                                                                                                                    Page  6  
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Joint  Debtor:  Dorothy  W.  Manderville                                                                                              Number  19-­‐03249-­‐jw    
  
     Part 8:    Nonstandard Plan Provisions


8.1   Check  “None”  or  List  Nonstandard  Plan  Provisions      

       q  None.  If  “None”  is  checked,  the  rest  of  Part  8  need  not  be  completed  or  reproduced.  
Under  Bankruptcy  Rule  3015(c),  nonstandard  provisions  must  be  set  forth  below.    A  nonstandard  provision  is  a  provision  not  otherwise  included  in  this  
form  or  deviating  from  it.    Nonstandard  provisions  set  out  elsewhere  in  this  plan  are  ineffective.      
The  following  plan  provisions  will  be  effective  only  if  there  is  a  check  in  the  box  “Included”  in  §  1.3.  
  
8.1  (a)  Mortgage  payments  to  be  disbursed  by  the  Trustee  (“Conduit”):      

Mortgage  payments,  including  pre-­petition  arrears,  will  be  paid  and  cured  by  the  Trustee  as  follows:      

       Name  of  Creditor                      Description  of  Collateral               Current                 Monthly                    Estimated  amount                Monthly  
                                                                                         installment             payment  to  cure          of  PRE-­PETITION                payment  on  
                                               (note  if  principal  residence;;         payment                 GAP  **  (post-­           ARREARAGE**                      pre-­petition  
                                               include  county  tax  map                 (ongoing                petition                   (including  the                  arrearage  
                                               number  and  complete                     payment                 mortgage                   month  of  filing  or    
                                               street  address)                          amount)  *              payments  for  the         conversion)*  
                                                                                                                 two  (2)  months  
                                                                                                                 immediately  
                                                                                                                 following  the  
                                                                                                                 event  beginning  
                                                                                                                 conduit)    
                                                                                                                                                                               
       Pennymac  Loan  Services                Principal  Residence                      $1,937                  $65                        $  17,441.19                     $  291  
                                               110  Graduate  Lane                       Escrow  for             Or  more                                                    Or  more  
                                               Ladson,  SC  29456                        taxes:    
                                               Dorchester  County                        ☒  Yes  
                                               TMS#  1541411010000                       ☐  No  
                                                                                           
                                                                                         Escrow  for    
                                                                                         insurance:    
                                                                                         ☒  Yes  
                                                                                         ☐  No  
                                                                                           

  
* Unless  otherwise  ordered  by  the  court,  the  amounts  listed  on  a  compliant  proof  of  claim  or  a  Notice  filed  under  FRBP  3002(c)  control  over  any  contrary  
amounts  above,  and  any  Notice  of  Payment  Change  that  might  be  filed  to  amend  the  ongoing  monthly  payment  amount.  
**  The  Gap  will  be  calculated  from  the  payment  amounts  reflected  in  the  Official  Form  410A  Mortgage  Proof  of  Claim  Attachment  and  any  Notice  of  
Payment  Change  that  might  be  filed  to  amend  the  monthly  payment  amount,  but  should  not  be  included  in  the  prepetition  arrears  amount.  
All  payments  due  to  the  Mortgage  Creditor  as  described  in  any  allowed  Notice  of  Post-­petition  Mortgage  Fees,  Expenses,  and  Charges  under  
F.R.B.P.  3002.1,  filed  with  the  Court,  will  be  paid  by  the  Trustee,  on  a  pro  rata  basis  as  funds  are  available.  See  the  Operating  Order  of  the  Judge  
assigned  to  this  case.      
Once  the  trustee  has  filed  a  Notice  of  Final  Cure  under  F.R.B.P.  3002.1(f),  the  debtor  shall  be  directly  responsible  for  ongoing  mortgage  payments  and  
any  further  post-­petition  fees  and  charges.  
  
8.1  (b)  Part  I  of  this  chapter  13  form  plan  indicates  that  all  objections  to  the  confirmation  of  the  plan  must  be  filed  no  later  than  7  days  before  the  date  set  
for  the  hearing  on  confirmation,  unless  otherwise  ordered.  In  Operating  Order  18-­04,  Judge  Waites  has  otherwise  ordered  that  all  objections  to  the  
confirmation  of  a  chapter  13  plan  in  cases  before  him  shall  be  filed  with  the  Court  no  later  than  21  days  after  the  date  of  service  of  the  plan.  Therefore,  
All  objections  to  the  confirmation  of  this  chapter  13  plan  must  be  filed  with  the  Court  no  later  than  21  days  after  the  date  of  service  of  this  
plan.  
                                                      




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Joint  Debtor:  Dorothy  W.  Manderville                                                                                 Number  19-­‐03249-­‐jw  

 Part 9:         Signature(s)




9.1   Signatures  of  the  debtor  and  the  debtor’s  attorney    

     The  debtor  and  the  attorney  for  the  debtor,  if  any,  must  sign  below.
  û     /s/ Rodney Bernard Manderville
       _________________________________________                          û      /s/ Dorothy W Manderville
                                                                               _________________________________________
            Signature  of  Debtor  1                                                  Signature  of  Debtor  2  


Executed  on  06/25/2019                                                  Executed  on  06/25/2019  
                       MM  /  DD  /  YYYY                                 MM  /DD  /  YYYY  




  û       /s/ Bianca Williams   12464
       ______________________________________                               Date           06/25/2019  
       Signature  of  Attorney  for  the  debtor          DCID  #                           MM/DD/  YYYY  



By  filing  this  document,  the  debtor,  if  not  represented  by  an  attorney,  or  the  debtor  and  the  attorney  for  the  debtor  certify(ies)  that  this  
Chapter  13  plan  contains  no  nonstandard  provision  other  than  those  set  out  in  Part  8.  




District  of  South  Carolina                                                                                                                                     Page  8  
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